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 1   Robert J. Bonsignore, Esq.
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 5   Counsel for Indirect Purchaser Plaintiffs

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11                               UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14   IN RE: CATHODE RAY TUBE (CRT)               Case No. 3:07-cv-5944
     ANTITRUST LITIGATION                        MDL No. 1917
15
                                                 CLASS ACTION
16
                                                 AFFIDAVIT OF ROBERT J. BONSIGNORE
17   This Document Relates to:                   IN SUPPORT OF OBJECTION TO SPECIAL
                                                 MASTER’S REPORT AND
18   All Indirect Purchaser Actions              RECOMMENDATION ON FINAL
                                                 APPROVAL OF CLASS ACTION
19                                               SETTLEMENT AND AWARD OF
                                                 ATTORNEYS’ FEES AND OTHER
20                                               EXPENSES AND AWARDS AND REQUEST
                                                 FOR DE NOVO ORDER
21
                                                 Judge: Honorable
22                                               Courtroom One, 17th Floor

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     AFFIDAVIT OF ROBERT J. BONSIGNORE IN SUPPORT OF OBJECTION TO SPECIAL MASTER’S REPORT
      AND RECOMMENDATION OF FINAL APPROVAL OF CLASS ACTION SETTLEMENT AND AWARD OF
       ATTORNEYS’ FEES AND OTHER EXPENSES AND AWARDS AND REQUEST FOR DE NOVO ORDER
                                                          Case No. 3:07-cv-5944, MDL No. 1917
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 1          I, Robert J. Bonsignore, declare as follows:

 2          1.       I am an attorney licensed to practice before the courts of New Hampshire and

 3   Massachusetts, as well as federal courts throughout the country. I am a partner in the law firm

 4   BONSIGNORE TRIAL LAWYERS, PLLC and have personal knowledge of the facts stated in

 5   this declaration and, if called as a witness, I could and would testify competently to them. I make

 6   this declaration in support of my firm’s Objection to Special Master’s Report and

 7   Recommendation on Final Approval of Class Action Settlement and Award of Attorneys’ Fees and

 8   Other Expenses and Awards and Request for De Novo Order.

 9          2.       Except as to those matters stated upon information and belief or that are

10   otherwise obvious in context or by choice of words, I have personal knowledge of the facts

11   contained herein. As to those matters stated on information and belief, I believe them to be true

12   and accurate.

13          3.       The opinions that I offer are made to a reasonable degree of professional certainty

14   and based upon my training, education and experience, my review of all related records,

15   including exchanges with Lead Counsel, the pleadings placed on file in MDL 1917, emails

16   exchanged, my own personal experiences in MDL 1917, my historic personal experience as an

17   active member of the national Plaintiff’s Anti Trust and consumer protection bars, my

18   involvement in other nationally coordinated litigation as Plaintiff’ s counsel, my discussions and

19   experiences with dozens of Plaintiff’s counsel nationwide and more generally, the firms and

20   many absent class members involved here.

21          4.       As clearly stated during hearing and supported by contemporaneously created

22   emails that were kept in the ordinary course of business Lead Counsel Alioto made a number of

23   false and misleading assertions concerning facts critical to this Court’s De Novo review. I do not

24   believe any of his related assertions, even if assumed to be true, would tend to make the existence

25   of any fact of consequence to the determination of the matters of law brought before the Court by

26   the excluded Plaintiffs more probable, however if not addressed they may be accepted as true.

27          5.       I am, therefore, in an abundance of caution offering this declaration pursuant to
                                               1
28   AFFIDAVIT OF ROBERT J. BONSIGNORE IN SUPPORT OF OBJECTION TO SPECIAL MASTER’S REPORT
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                                                                          MDL 3:07-md-1827 SI
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 1   FRE 401 in further response.

 2          6.      There are changes in the emails and fee agreement we previously submitted and

 3   those attached here. Previously I instructed my staff to redact segments of the retention

 4   Agreement and related email chain that we believe are privileged by virtue of attorney and client

 5   communication. To eliminate a concern of the Special Master's, I have instructed my staff to

 6   instead “black out” the attorney/client privileged communication sections with a black marker and

 7   keep the documents length intact. The submissions are identical except for that distinction. We

 8   remain willing to submit the complete copy of the fee agreement in camera upon request.

 9          7.      My firm is counsel of record in this case, and represents named plaintiff(s) Gloria

10   Comeaux, Jeff Speaect, Rosemary Ciccone, Anthony Gianasca, Mina Ashkannejhad individually

11   and/or as Administrator of the Estate of the Late R. Deryl Edwards, Jr., and Jeff Craig. Each of the

12   documents attached to this declaration are kept in the ordinary course of business:

13          8.      Attachment 1 – Hilsee Group Website;

14          9.      Attachment 2 –Federal Judicial Center Judge’s Class Action Notice and Claims

15   Process Checklist and Plain Language Guide;

16          10.     Attachment 3 – Rust Report of Erroneous Notice and Claims Reporting;

17          11.     Attachment 4- Anthony Gianasca’s Retention Agreement with Redactions;

18          1.      Attachment 5 – Declaration of Josh Mansfield Re: Archive Emails pulled records

19   pursuant to the request of Mr. Bonsignore:

20          a.      Exhibit 1 – Email from Ms. Carolyn Jorgenson dated March 2, 2012 relating to

21   CRT TV Model;

22          b.      Exhibit 2 – Email from Robert Bonsignore to MDL 1917 Lead Counsel Mario

23   Alioto dated March 1, 2012 advising him he was missing Class Representatives including New

24   Hampshire;

25          c.      Exhibit 3 – Email to Ms. Carolyn Jorgenson from Robert Bonsignore copying MDL

26   1917 Lead Counsel Mario Alioto dated March 5, 2012.

27          d.      Exhibit 4 – Email from Ms. Carolyn Jorgenson dated March 6, 2012 with attached
                                               2
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 1   Fee Agreement; and

 2          e.      Exhibit 5 – Email from Robert Bonsignore to MDL 1917 Lead Mario Alioto dated

 3   March 6, 2012 with attached first Putative Missouri Class Representative David Perriman’s name,

 4   address and phone; David Perriman’s CRT TV purchase history and photographs of multiple

 5   Perriman TV’s and TV identification numbers; a first draft Confirmation of Purchase Affidavit;

 6   and finally – Perriman’s local counsels contact information.

 7          12.     Attachment 6 – Emails between Lead Counsel Alioto and myself dated March 1,

 8   2012 red – flagging Repealer states including New Hampshire appear to be missing;

 9          13.     Attachment 7 – Email to Lead Counsel Alioto dated November 9, 2015 and photos

10   of a Gianasca television

11          14.     Attachment 8- Transcript of January 5, 2016 Hearing; and

12          15.     Attachment 9 – Selections from Anthony Gianasca’s Deposition Transcript.

13          16.     Attachment 10 - Bonsignore, PLLC Curriculum Vitae.

14          I declare under penalty of perjury that the foregoing is true and correct. Executed this 12th

15   day of February 2016, in Las Vegas, Nevada.

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17                                                   /s/ Robert J. Bonsignore
                                                     Robert J. Bonsignore, Esq.
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 1                                     CERTIFICATE OF SERVICE

 2
            I, Robert J. Bonsignore, hereby certify that on this 26th day of February, 2016, I caused the
 3
     foregoing to be electronically filed with the Clerk of the Court by using the Case
 4

 5   Management/Electronic Case Filing (CM/ECF) system, which will send a notice of electronic

 6   filing to all parties registered with the CM/ECF system in the above-captioned matter. A copy will

 7   be forwarded via first class mail, postage prepaid, to those parties not electronically registered.
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                                                           /s/ Robert J. Bonsignore
10                                                         Robert J. Bonsignore

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